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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                    Civ. No. 21-444

$194,850.00 UNITED STATES CURRENCY,

                Defendant-in-rem.


                   VERIFIED COMPLAINT FOR FORFEITURE IN REM

        Plaintiff, United States of America, brings this complaint in accordance with

Supplemental Rule G(2) of the Supplemental Rules for Certain Admiralty or Maritime Claims

and Asset Forfeiture Actions, and alleges as follows:

                                     NATURE OF THE ACTION

        1.      This is a civil action to forfeit and condemn to the use and benefit of the United

States of America property involved in violations of the Controlled Substances Act and 18

U.S.C. § 1952 that is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6) and 18 U.S.C. §

981(a)(1)(C).

                                        DEFENDANT IN REM

        2.      The defendant in rem consists of the following:

                a. $194,850.00 United States Currency,
        (hereafter collectively referred to as “Defendant Currency”).

        3.      The Defendant Currency was seized by the Drug Enforcement Administration

(DEA) on January 24, 2021, in the District of New Mexico.

        4.      The Defendant Currency is now, and during the pendency of this action will be, in

the jurisdiction of this Court.
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                                     JURISDICTION AND VENUE

       5.       The United States District Court for the District of New Mexico has subject

matter jurisdiction under 28 U.S.C. §§ 1345, 1355(a) and 1356.

       6.       Venue for this civil forfeiture action is proper in this district pursuant to 28 U.S.C.

§§ 1355 and 1395, as acts or omissions giving rise to the forfeiture took place in this district and

the property is found in this district. Upon the filing of this complaint, the Defendant Currency

will be arrested by execution of a Warrant for Arrest In Rem in the District of New Mexico.

                                                FACTS

       7.       On January 23, 2021, Drug Enforcement Administration (DEA) Special Agent

Jarrell Perry received information from the Amtrak Police Department concerning a male, later

identified as Hazma Cherradi, who had been searched by the Interdiction Detail in Chicago, Illinois

prior to Cherradi departing on a westbound Amtrak Train for Los Angeles, California. Agent Perry

was informed that Cherradi had clear plastic, vacuum sealed bundles of money wrapped in various

rubber-bands concealed inside of a small cardboard box. Agent Perry was informed that Cherradi

stated that he had $90,000.00 in U.S. Currency and had been allowed to continue his travel on the

Amtrak Train.

       8.       Agent Perry reviewed an Amtrak train Passenger Name Record (PNR) in the name

of Hazma Cherradi, reflecting one-way travel from Philadelphia, Pennsylvania to Los Angeles,

California that was paid on Apple Pay in the amount $1,490.00, for travel in sleeper car 430, deluxe

bedroom E. The PNR reflected that the ticket was purchased via the Internet on January 20, 2021

at 9:16 p.m., two days prior to the departure of the Amtrak Train from Philadelphia, Pennsylvania.

       9.       On January 24, 2021, Agent Perry, Task Force Officer (TFO) Savedra, TFO F.

Chavez and Detective Sinclair were at the Amtrak Train Station in Albuquerque, New Mexico to

speak with Cherradi. Agent Perry observed a male, later identified as Hamza Cherradi, walk away
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from sleeper car number 430 and onto the upper platform. A few minutes later Agent Perry

approached Cherradi. Agent Perry said, “Hello sir, how are you doing?” Cherradi said, “How are

you doing sir?” Agent Perry displayed his DEA badge and identified himself as a DEA agent, to

Cherradi. Agent Perry asked Cherradi for permission to speak with him, and Cherradi said, “Yeah,

absolutely.”

       10.     Agent Perry asked Cherradi if he had his ticket with him and Cherradi said, “Yes.”

Agent Perry asked Cherradi where he was traveling to and Cherradi said, “I'm going to LA.” Agent

Perry asked Cherradi where he started his trip, and Cherradi said, “Philadelphia, Chicago, then

LA.”

       11.     Agent Perry asked Cherradi if he lived in Philadelphia or LA. Cherradi said, “I live

in Philly and LA.” Cherradi said that he was going to become a resident of California when he

arrived there on this trip, and that he had been traveling back and forth for the past year. Cherradi

said that his fiancé lives in LA, and that it was good for his business, which is a music production

company.

       12.     Cherradi showed Agent Perry an Amtrak Train ticket in the name of Hazma

Cherradi which was located on his cellular telephone. Agent Perry reviewed the ticket and

immediately returned it to Cherradi.

       13.     Agent Perry asked Cherradi if he had identification with him and Cherradi said,

“Upstairs, I'll get it for you.” Agent Perry asked Cherradi for permission to see his identification

and Cherradi boarded coach car 430, walked upstairs to bedroom E and entered bedroom E.

Cherradi retrieved identification and handed it to Agent Perry. Agent Perry reviewed the

identification and immediately returned it to Cherradi.

       14.     Cherradi said that he was checked in Chicago and had been searched.



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       15.     Agent Perry asked Cherradi if he had any weapons or anything illegal. Cherradi

said, “Oh you can search if you would like.” Agent Perry asked Cherradi if he had luggage with

him and Cherradi identified a large black suitcase lying in the floor of the bedroom and a fanny

pack. Agent Perry asked for and received permission from Cherradi to enter his bedroom.

       16.     Agent Perry sat Cherradi’s suitcase on the lower bunk and conducted a search.

Cherradi stepped into the hallway and spoke with Detective Sinclair.

       17.     Agent Perry located a cardboard box for a keyboard and opened the box, which

revealed two large clear plastic, heat-sealed bundles containing various large rubber-band wrapped

bundles of money. A photo of the Defendant currency as it was encountered by Agent Perry is

included here for reference:




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       18.     Agent Perry knew from his experience that the packaging and rubber-bands were

consistent with other bundles of money that he had observed in past encounters which were

involved in the illegal narcotics business.

       19.     Cherradi informed Detective Sinclair that he was traveling with cash because it was

easier to do it that way. Cherradi said that when you travel by plane it’s too much headache, and

that he had the same problem with officers in Chicago. Agent Perry observed that Cherradi’s

breathing was labored when speaking.

       20.     Agent Perry asked Cherradi if the money was the cash that he was speaking about

and Cherradi said yes. Cherradi said that it was a hundred and some thousand and that he was the

one who had packaged the cash.

       21.     Cherradi said he wrapped the money to make it neat and so that it would not go all

over the place. Cherradi became more nervous and his breathing became more labored when

speaking. Cherradi said that the bundles were in $10,000.00 increments and the smaller ones were

in $2,500.00 increments.

       22.     Cherradi initially said that he had cash just because, and did not provide a definite

answer for why he was transporting the currency. Cherradi said that he had money in the bank and

from other businesses. Cherradi said that he taken between $25,000.00 to $50,000.00 out of the

bank (but the total amount of the currency was later determined to be much larger). Cherradi stated

that he had counted the money himself before leaving, but during the encounter with Agent Perry,

Cherradi stated that the cash totaled a little over $100,000.00, then later said it totaled between

$160,000.00 and $180,000.00. (The actual total was $194,850.00.)

       23.     Cherradi said that he does a lot of cash business and showed Agent Perry a web site

of his business on his phone as well as a screen shot of his bank account. Cherradi said that he was



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going to a hemp and CBD Oil farm in California to purchase more products for the business. One

of the photos of the website that Cherradi showed Agent Perry is included here for reference:




       24.     The name on the website and the name on the bank account shown to Agent Perry

did not appear to be for the same business. Specifically, the name on the bank account referenced

a music production company.

       25.     Agent Perry informed Cherradi that the money that he had with him was being

seized because Agent Perry believed that the money was either proceeds of illegal narcotics or was

being used to facilitate the purchase of illegal narcotics.

       26.     Agent Perry obtained various photographs of the bundles of money inside of the

cardboard box. Agent Perry filled out a receipt for the unknown amount of United States Currency

that was being seized. Agent Perry explained the process for Cherradi to file a claim for the money

that was being seized from him.


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       27.       Agent Perry and TFO F. Chavez placed the currency into a self-sealed envelope in

the presence of Cherradi.

       28.       Cherradi, Agent Perry and TFO F. Chavez signed the top portion of the self-sealed

envelope prior to sealing it.

       29.       Cherradi wanted to obtain various photographs of the money and the money inside

of the self-sealed envelope. Agent Perry gave Cherradi a copy of the receipt for seizure of the

currency.

       30.       Agent Perry, TFO F. Chavez, TFO Savedra and Detective Montoya transported the

currency to the DEA Albuquerque Office.

       31.       At the DEA Albuquerque Office, Albuquerque Police Department Detective

Sinclair deployed his trained and certified drug odor detection canine on the undetermined amount

of U.S. Currency. Detective Sinclair informed Agent Perry that his trained and certified drug

detection canine alerted positive to the undetermined amount of U.S. Currency for the odor of

illegal controlled substance.

       32.       DEA investigation revealed Hamza Cherradi has a previous arrest for a controlled

substance violation in Pennsylvania.

       33.       On January 25, 2021, the undetermined amount of U.S. was transported to Loomis

Armored Transport for an official count. The currency totaled $194,850.00.



                                         FIRST CLAIM FOR RELIEF

       34.       The United States incorporates by reference the allegations in paragraphs 1

through     as though fully set forth.

       35.       Title 21, United States Code, Section 881(a)(6) subjects to forfeiture “[a]ll

moneys, negotiable instruments, securities, or other things of value furnished or intended to be
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furnished by any person in exchange for a controlled substance or listed chemical in violation of

this subchapter, all proceeds traceable to such an exchange, and all moneys, negotiable

instruments, and securities used or intended to be used to facilitate any violation of this

subchapter.”

       36.     Defendant Currency was furnished, or intended to be furnished, in exchange for a

controlled substance, or constitutes proceeds traceable to such an exchange, or was used or

intended to be used to facilitate a violation of the Controlled Substances Act and is thus subject

to forfeiture to the United States pursuant to 21 U.S.C. § 881(a)(6).


                                     SECOND CLAIM FOR RELIEF

       37.     The United States incorporates by reference the allegations in paragraphs 1

through as though fully set forth.

       22.     18 U.S.C. § 1952 prohibits interstate and foreign travel or transportation with the

intent to (1) distribute the proceeds of any unlawful activity; (2) commit any crime of violence to

further any unlawful activity; or (3) otherwise promote, manage, establish, carry on, or facilitate

the promotion, management, establishment, or carrying on, of any unlawful activity. Unlawful

activity is defined in 18 U.S.C. § 1952(b).

       23.     Defendant Currency is the proceeds of a violation of 18 U.S.C. § 1952 or is the

proceeds traceable to such property and, is thus subject to forfeiture to the United States pursuant

to 18 U.S.C. § 981(a)(1)(C).

       WHEREFORE: Plaintiff seeks arrest of Defendant Currency and forfeiture of same to

Plaintiff, determination of the validity and priority of claims of the Claimants and any Unknown

Claimants to the Defendant Currency, costs, and expenses of seizure and of this proceeding, and

other proper relief.


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                                   Respectfully submitted,

                                   FRED J. FEDERICI
                                   Acting United States Attorney


                                   BRANDON L. FYFFE
                                   Assistant U.S. Attorney
                                   P.O. Box 607
                                   Albuquerque, NM 87103
                                   (505) 346-7274




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